Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 1 of 32

About Safe at Home :: California Secretary of State https://www.sos.ca.gov/registries/safe-home/about-safeathome

laf?

Dr. Shirley N. Weber |

California Secretary of State

 

Home Registries Safe at Home

About Safe at Home

Safe at Home is California's address confidentiality program administered by the California Secretary
of State’s office. The program, which provides a free post office box and mail forwarding service, is
designed to help victims and survivors of domestic violence, stalking or sexual assault to start new lives

‘in peace and to provide added protections to their overall safety plans.

Safe at Home is not a Witness Protection Program, nor does it provide relocation, counseling or legal
services. Safe at Home laws apply to state and local government agencies, but not to private entities or
to the federal government. Participants are not automatically qualified for other victim services
programs; they must meet specific qualifications in order to be eligible for services administered by the
Secretary of State’s office, county Registrar of Voters offices, the California Superior Court System, and
the California Department of Motor Vehicles.

Available Services

Agent for Service of Process

The Secretary of State acts as your agent for service of process to protect your address information
from being disclosed to the other party in your court case. When you enroll, Safe at Home instructs the
other party and his or her attorney to serve court-related correspondence on the Secretary of State’s
Office in Sacramento. The service is then forwarded by certified mail to your confidential address. (per
Government Code section 6206(a)(5))

Confidentiality for Children

If your children are enrolled, Safe at Home can provide an additional layer of protection for them, too.
You can notify your enrolled child’s school of your family's participation in Safe at Home and prevent
sharing of information about your child. (per Government Code section 6206(a))

Confidential Mail-Forwarding

First-class mail is securely handled and forwarded to your confidential home or mailing address.

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Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 2 of 32

 

 

 

SECRETARY OF STATE

Darren Chaker DelNero

Congratulations! You are officially enrolled as a member of the Safe ar
Home Confidential Address Program. By using your new substitute PO Box

- mailing address when creating government and public documents, your home,
workplace or school location will remain confidential and free from public access.

Iam pleased to administer this long overdue service to help protect survivors
of domestic violence, stalking and sexual assault and that you chose to use Safe ar
Home as an addition to your overall health and safety plan.

Therefore, I, DEBRA BOWEN, Secretary of State of the State of California,

hereby certify that on the 6 day of January, 2009, Darren Chaker DelNero, is an

active participant of the Safe at Home program established by Statutes of 1998,

“Chapter 1005 (SB 489) and 2000, Chapter 562 (SB 1318).

IN WITNESS WHEREOF, I execute this
certificate and affix the Great Seal of the
State of California this January 6, 2009.

Secretary of State

Ex.

OSP-OF 104059

 

 
Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 3 of 32

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Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 4 of 32

CALIFORNIA STATE TRANSPORTATION AGENCY GAVIN NEWSOM, Governor

DEPARTMENT OF MOTOR VEHICLES
INVESTIGATIONS DIVISION

CONFIDENTIAL RECORDS UNIT

P.O, BOX 932391 MS N227

SACRAMENTO, CA 94232-3910

   

August 24, 2020

Darren Del Nero #3607.
P.O. Box 1679
Sacramento, CA 95812

Dear Darren Del Nero:

 

 

RE: DL/D#: A7531455
VEH#: 8MZL788, A003432

The request submitted regarding the suppression of your records has been accepted. Your
records will only be accessible through the Confidential Records Unit (CRU).

All inquiries involving your records are subject to review by the CRU. A current phone
number will be required in the event we need to contact you during normal business hours.
To avoid delays or denials of requests, please provide the name of your automobile
insurance company. Any changes should be reported to this unit immediately.

As long as you continue to be an active participant in the Safe at Home Program, the
suppression of your records will remain in effect until April 23, 2023.

Please note, photo identification will be required should you need to visit a Department of
Motor Vehicles field office to process transactions involving your vehicle registration and/or
driver license/identification card records.

 

lf you have questions, please call (916) 657-7142.

 

Sincerely,

Rachele
Senior Motor Vehicle Technician
Confidential Records Unit

California Relay Telephone Service for the deaf or hearing impaired from TDD Phones: 1-800-735-2929: from Voice Phones: 1-800-735-2922

INV 450 (REV, 7/2013) DMVWeb A Public Service Agency
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Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 5 of 32

Case No: OBC20-0444

 

  

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CPRICE OF BAR COUNSEL

STATE BAR OF NEVADA
SOUTHERN NEVADA DISCIPLINARY BOARD
STATE BAR OF NEVADA,

Complainant,
VS.
COMPLAINT
THOMAS C. MICHAELIDES, ESQ.,
Nevada Bar No. 5425,

Nee Nae ee Ne ee ae Ne See Sree”

Respondent.

 

PLEASE TAKE NOTICE that pursuant to Supreme Court Rule (“SCR”) 105(2), a VERIFIED
RESPONSE OR ANSWER to this Complaint must be filed with the Office of Bar Counsel, State Bar
of Nevada (“State Bar”), 3100 W. Charleston Boulevard, Suite 100, Las Vegas, Nevada 89102, within
twenty (20) days of service of this Complaint. Procedure regarding service is addressed in SCR 109.

General Allegations

1. Complainant, State Bar of Nevada, alleges that the Respondent, Thomas C. Michaelides,
Esq. (“Respondent”), Nevada Bar No. 5425, is currently an active member of the State Bar of Nevada
and at all times pertinent to this complaint had his principal place of business for the practice of law
located in Clark County, Nevada.

2. Respondent engaged in acts of professional misconduct warranting the imposition of
professional discipline as set forth below.

3. Darren Chaker retained Respondent on a child custody matter.
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4, Chaker was unhappy with Respondent’s representation. As a result, in or about 2018,
Chaker posted negative online reviews about Respondent. |

5. On August 7, 2018, Respondent filed a Complaint in the Eighth Judicial District Court
against Chaker for claims of defamation, business disparagement, civil conspiracy, and injunctive relief.

6. Respondent obtained permission from the Court to serve Chaker via publication.

7. On November 19, 2018, Respondent filed a Notice of Entry of the Default.

8. Thereafter on May 28, 2019, Respondent filed an Application for Entry of Default
Judgment.

| 9, At some point Chaker became aware of the case and retained counsel to set aside the
default.

10. A Motion to Set Aside Default was filed on January 28, 2020, by Chaker’s attorney.

11, According to the court docket, nothing was filed after the Application and before the
Motion to Set Aside Default, and no hearing on the Application was ever held.

12. On or about February 27, 2020, Respondent, or his agent sent a falsified court Order to
Google in an attempt to have Google remove the negative online reviews.

13. On March 31, 2020, Chaker filed a grievance with the State Bar of Nevada.

14. The grievance explained that on February 27, 2020, Respondent’s paralegal, Pete Novak,
emailed him a falsified default judgment directing that he remove the negative online reviews about
Respondent.

15. In communication with the State Bar, Respondent admitted that he or his agent, Pete
Novak, had sent the default judgment to Chaker in hopes that he would agree to a compromise.

16. Supporting his claim that the default judgment was falsified, Chaker noted that:

a. No default judgment was reflected on the Court’s docket;

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17.

. The file stamp on the default judgment is for the exact same date and time as the file stamp

on the May 28, 2019, Application;

. The file stamp on the default judgment appears to have been copied and pasted from the

Application, as you can see an errant pleading paper line that was not deleted;

. The May 28, 2019, date file-stamped on the default judgment makes no sense given that

the date the document was purportedly executed was May 30, 2019; and

. The signature of Judge Crockett on the default judgment appears to have been copied from

the Order Granting Motion for Publication filed September 19, 2019.

On March 24, 2020, out of an abundance of caution, Chaker’s counsel filed a supplement

to the Motion to Set Aside and to strike the default judgment received by Chaker, even though it was not

on the Court’s docket.

18.

At the hearing on April 2, 2020, Respondent represented to the Court that his goal in the

case was to get a judgment to take to Google, but the judgment he received was not specific enough for

Google to remove the posts.

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COUNT I

RPC 3.3(a)(1) — Candor Toward the Tribunal
RPC 3,3(a)(1) states in relevant part:
(a) A lawyer shall not knowingly:
(1) Make a false statement of fact or law to a tribunal or fail to correct a false
statement of material fact or law previously made to the tribunal by the lawyer.
Respondent represented to the court a court that his goal was to get a judgment to take to
Google but failed to inform the court that he had already sent Google a falsified order.
Respondent knew or should have known his conduct was improper.

Respondent’s conduct resulted in potential harm to legal profession and to the courts.
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Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 8 of 32

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In light of the foregoing including, without limitation, paragraphs 1 through 18,
Respondent has violated RPC 3.3 (Candor Toward the Tribunal).
COUNT I
RPC 3.4(b) — Fairness to Opposing Party and Counsel
RPC 3.4(b) states:
(b) Falsify evidence, counsel or assist a witness to testify falsely, or offer an
inducement to a witness that is prohibited by law.
Respondent improperly sent a falsified default judgment to Darren Chaker to coerce him
into removing negative online reviews about Respondent.
Respondent’s conduct resulted in harm to the legal profession.
In light of the foregoing including, without limitation, paragraphs | through 18,
Respondent has violated RPC 3.4 (Fairness to Opposing Party and Counsel).
COUNT Il
RPC 4.A(a) — Truthfulness in Statements to Others
RPC 4.1(a) states:
In the course of representing a client a lawyer shall not knowingly:
(a) Make a false statement of material fact or law to a third person.
Respondent made a false statement to Google when he or his agent sent them a falsified
default judgment in an attempt to have them remove the negative online reviews about
him.
Respondent’s conduct resulted in harm to the legal profession.
In light of the foregoing including, without limitation, paragraphs 1 through. 18,

Respondent has violated RPC 4.1 (Truthfulness in Statement to Others).

 
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Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 9 of 32

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COUNT IV

RPC 4,2 — Communication with Persons Represented by Counsel

RPC 4.2 states:

In representing a client, a lawyer shall not communicate about the subject of the
representation with a person the lawyer knows to be represented by another

lawyer in the matter, unless the lawyer has the consent of the other lawyer or is
authorized to do so by law or a court order.

Respondent improperly contacted Darren Chaker by sending him the falsified default
judgment knowing that he was represented by counsel.

Respondent’s conduct resulted in harm to the legal profession.

‘In light of the foregoing including, without limitation, paragraphs 1 through 18,
Respondent has violated RPC 4.2 (COmmunications with Persons Represented by

Counsel).

WHEREFORE, Complainant prays as follows:

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41.

That a hearing be held pursuant to Nevada Supreme Court Rule 105;

That Respondent be assessed the actual and administrative costs of the disciplinary

proceeding pursuant to SCR 120; and

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Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 10 of 32

42. That pursuant to SCR 102, such disciplinary action be taken by the Southern Nevada
Disciplinary Board against Respondent as may be deemed appropriate under the circumstances.

DATED this 13 day of October, 2020.

STATE BAR OF NEVADA
Daniel M. Hooge, Bar Counsel

Oaniel i aA t 2020 13:48 PDT)

Daniel T. Young, Assistant Bar Counsel
Nevada Bar No. 11747

3100 W. Charleston Blvd, Suite 100
Las Vegas, Nevada 89102
(702)-382-2200

Attorney for State Bar of Nevada

 

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Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 11 of 32

 

 

Complaint - Michaelides OBC20-0444

Final Audit Report 2020-10-13

 

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"Complaint - Michaelides OBC20-0444" History

£3 Document created by Sonia Del Rio (soniad@nvbar.org)
2020-10-13 - 8:46:56 PM GMT- IP address: 70,175.53.4

E% Document emailed to Daniel Young (daniely@nvbar.org) for signature
2020-10-13 - 8:47:23 PM GMT

®3 Email viewed by Daniel Young (daniely@nvbar.org)
2020-10-13 - 8:47:57 PM GMT- IP address: 68.96.236.220

@% Document e-signed by Daniel Young (daniely@nvbar.org)
Signature Date: 2020-10-13 - 8:48:13 PM GMT - Time Source: server- IP address; 68.96.236.220

@ Agreement completed.
2020-10-13 - 8:48:13 PM GMT

 

 

 
A Professional Corporation
Las Vegas, Nevada 89129

Law Offices of
OLSON CANNON GORMLEY & STOBERSKI
9950 West Cheyenne Avenue

Fax (702) 383-0701 .

(702) 384-4012

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Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 12 of 32

5/8/2021 2:00 PM

JAMES R. OLSON, ESQ.
Nevada Bar No. 000116
STEPHANIE A. BARKER, ESQ.
Nevada Bar No. 3176
BRANDON P. SMITH, ESQ.
Nevada Bar No. 10443

OLSON CANNON GORMLEY & STOBERSKI
9950 West Cheyenne Avenue
Las Vegas, NV 89129
jolson@ocgas.com
sbarker@ocgas.com
bsmith@ocgas.com
702-384-4012

702-383-0701 fax

Attorneys for Defendant

DISTRICT COURT

CLARK COUNTY, NEVADA

THOMAS C. MICHAELIDES, an individual,
THOMAS C. MICHAELIDES dba TCM LAW
GROUP,

Plaintiffs,
v,
JOHN DOE, an individual; DOES I-X,

inclusive; and ROE CORPORATIONS XI
through XX,

Defendants.

CASE NO. A-18-779028-C
DEPT. NO, XXIV

 

 

 

 

Electronically Filed
05/08/2021 2:00 PM,

*

CLERK OF THE COURT

ORDER GRANTING DEFENDANT’S MOTION TO SEAL OR REDACT

Defendant’ s Motion to Seal or Redact Record Under Seal, having come before the Court

on the 27" day of April, 2021, with no opposition filed by Plaintiff and good cause appearing, it

is hereby ORDERED, ADJUDGED AND DECREED:

///
///

 
Law Offices of
OLSON CANNON GORMLEY & STOBERSKI

A Professional Corporation —
9950 West Cheyenne Avenue

Las Vegas, Nevada 89129
Fax (702) 383-0701

(702) 384-4012

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Defendant’s Motion to Seal is GRANTED. The Clerk shall preserve the case file under
seal per SRCR 3(7) and subject to SRCR 3(5)(c), with the exception that the caption shall
identify the defendant by the pseudonym ‘JOHN DOE’. Further, Plaintiff shall be prohibited

from disclosing or disseminating any record or pleading from this matter.

 

DATED this day of May, 2021.
A ieeeo K, (46.40—
DISTRECF COURT JUDGE
Respectfully Submitted by:

OLSON CANNON GORMLEY & STOBERSKI 429 A6C A03C 3AF6
Jessica K. Peterson

/s/ Brandon P. Smith, Esq. District Court Judge

 

JAMES R. OLSON, ESQ.
Nevada Bar No. 000116
STEPHANIE A. BARKER, ESQ.
Nevada Bar No. 3176
BRANDON P. SMITH, ESQ.
Nevada Bar No. 010443

9950 West Cheyenne Avenue
Las Vegas, NV 89129

Attorney for Defendant

 

 
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CSERV

_ DISTRICT COURT
CLARK COUNTY, NEVADA

Thomas Michaelides, Plaintiff(s) | CASE NO: A-18-779028-C
VS. DEPT. NO. Department 8

Darren Chaker, Defendant(s)

 

AUTOMATED CERTIFICATE OF SERVICE

This automated certificate of service was generated by the Eighth Judicial District

Court. The foregoing Order Granting Motion was served via the court’s electronic eFile
system to all recipients registered for e-Service on the above entitled case as listed below:
Service Date: 5/8/2021

Thomas Michaelides info@tcmlawgroup.com

Brandon Smith bsmith@ocgas.com

James Olson chartle@ocgas.com

Nan Langenderfer nlangenderfer@ocgas.com

Jane Hollingsworth jhollingsworth@ocgas.com

Wendy Fiore wfiore@ocgas.com

Samantha Almazan samantha@tcomlawgroup.com

| Eric Tucker ~ eric@tcmlawgroup.com
Stephanie Barker . sbarker@ocgas.com

 

 
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THOMSON REUTERS

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January 7, 2010

Darren Chaker-Delnero
311 N Robertson Blvd #123
Beverly Hills, CA 902114

Dear Darren Chaker-Delnero:

This letter is in response to the request fo remove your personal identifying information from
Westlaw non-public information. databases. This.letter confirms that the records containing such
information will be removed within the next 60 days..

Please be. advised that your information may reappear in Westlaw databases if you apply for, .
cosign or guarantee credit applications using a name, address or other identifying information that
differs from the information submitted in your opt-out request. ,

Much of the non-public information contained in Westlaw public records databases is maintained
by credit reporting agencies (Experian, Equifax or Trans Union) or is available from official public
records offices. If you would like to have your personal information removed from the databases
maintained by the three credit reporting agencies, please. call 4-888-567-8688 and follow the

ocedure may result in compromising your

directions to opt-out, Note that completion of that pr
future ability to obtain or maintain credit.

For official public records databases mentioned above, you will need to contact the official
custodian of those records. such as your county’s land records office, to determine haw to
remove your personal identifying information from the public, record.

Please be advised that while the CLEAR platform for law enfotcement is how owned by West. as
Thomson Reuters business as well, the data accessed by that platform remains under the control
of Lexis-Nexis at this time. If you have privacy concerns in that regard, we recommend that you
contact Lexis directly. Their privacy information can be accessed at Lexis.com.

Please visit htto://west.thomson,com/privacy/records.asp for more information about Westlaw

public records offerings and our privacy policies. If you have any other questions please contact
us at 1-800-328-4880.

Very truly yours,

Account Maintenance Team
Customer Service Specialized Support
West, a Thomson Reuters. business

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THOMSON REUTERS H. David Rosner, Esq.
Sr. Specialist
West, a Thomson Reuters business
610 Opperman Drive ,
Eagan, MN 55123

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December 14, 2009

Mr, Darren Chaker
311 N. Robertson Blvd. #123
Beverly Hills, CA 90211

Re: Request for Suppression of Information

Dear Mr. Chaker:

This letter is in response to your memo to Edward Friedland, General Counsel of West, a
Thomson Reuters business and other communications received at this office regarding the
removal of your personal identifying information from Westlaw public and non-public information
databases. This letter confirms that-current non-public information on Westlaw (e.g. People-Find,
PeopleMap) corresponding to the information you have provided us will be removed within the
next 60 days. This is the data most likely to contain your SSN and/or birth date. By this action,
all records that might include your SSN will be removed, and any remaining references to your
birth date will be at least partially masked. ,

Please be advised that due to your apparent involvement in litigation of various sorts and in
multiple courts, we are unable to remove any addresses that you may have provided the Courts
that are now part of the dockets or other filings. This information can only be removed by order of
the judge who handled the particular litigation in question. As to removal of in your information
from Real Property: records or related public records, we recommend that you follow up with the
California Safe at Horne program and the individual recording clerks in any venue where you may
own property to have personal identifying information removed, Since these venues are the
ultimate sources of such information on Westlaw; all changes will flow through to our databases.
Also, It is important-to note that you may reappear.in Westlaw databases if you apply fer, cosign
or guarantee credit applications using a name, address or other identifying information that differs
from the information submitted in your opt-out request. It may also reappear if you move or
change your last name as the result of marriage, divorce, etc. Any such changes will require that
you re-submit/update your opt-out request,

Please visit http://west.thomson.com/privacy/records.asp for more information about Westlaw

public records offerings and our privacy policies. If you have any: other questions please contact
our Customer Experience group at 1-800-328-4880. ,

Very truly yours,

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—f U <>

H, David Rosner, Esq.
Sr, Specialist
West, a Thamson Reuters business

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Customer Service THONMISON

» 0. Box 483% ah ena
St Paul, Mt 95 164-0833 . , ;

VVEST |
tal (QNG) 328-4880

Fax (800) 340-9378
weet customer service@thomson com

West

April 1, 2005

Darren D Chaker
311 North Robertson Blvd #1230
Beverly Hills, CA 90211

Dear Mr. Chaker,

West recently received your request for removal of your personal identifying information from
public records database on Westlaw. If you.included family members in your request, they have
been removed as well. Pursuant to our privacy policy we will remove your personal, non-public
identifying information from the PEOPLE-FIND and PEOPLE-CH databases within the next 60
days. Information gathered from voter registrations, professional licenses and business

registrations is considered public information and therefore those. records are subsequently not
removed.

Please be advised that although we will remove your personal, non-public information from
PEOPLE-FIND and PEOPLE-CH, your information may reappear if you apply, cosign or
guarantee credit applications using a name, address or other information that differs from the
information previously held in these databases. To ensure continued removal, you may wish to
submit a new request for removal each time you change addresses or area party to.an
application where you have used a different name or spelling of your name.

Also, although we. will remove your personal, non-public information. from the PEOPLE-FIND and
PEOPLE-CH databases, we are unable to remove your name from the other public records
databases on Westlaw including the other people databases. With the exception of PEOPLE-
EIND and PEOPLE-GH, the informatian contained in Westlaw public records databases Is either
maintained by credit reporting agencies (Experian, Equifax or Trans Union) or available from
official public records offices to anyone who requests it. For all other public records databases ©
you will neéd to contact the official custodians of those public records, such as your county's land
records office, to determine how to remove your personal identifying information from the public
record, If you would like to have your personal information removed from the databases —
maintained by the three credit reporting agencies, please call 4-888-567-8688 and follow the
directions given to “opt out" in their files.

Please visit http://west.thomson.com/privacy/records.asp for additional information about Westlaw
public records offerings and our privacy policies.

Very truly yours,

Account Maintenance Team
Customer Service Specialized Support
Thormison West

610 Gpperman Drive, Eagan, MN 55123 Tel{651) 687-7000 ww: west. thomson cor a
cS f.
Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 18 of 32

Customer Service THOWNWISON
PO, Box 64833 , ng
St Paul, MIN 55164-0833

. WEST

Tet (800) 328-4880
Ex (200) 340-93 78
west customer. service@thamson. com

~ May 15, 2006

Darren D Chaker
311 N Robertson Blvd Ste 123
Beverly Hills CA 90211 -1705

Dear Darren Chaker:

This letter is in response to your mailed request to remove your personal identifying
information from the DMV records. We previously only had your address of 9993 Fine
Fern St in Las Vegas to search for from you, so your information regarding the 20000 S
Maryland Pkwy or the 50 S Jones Blvd Ste 204 addresses were not looked at. We are
removing it now. Thank you for providing this additional information, Please allow at
least 2 weeks for this information to be removed.

Please visit http://west.thomson.comy/privacy/record: asp for more information about
Westlaw public records offerings and our privacy policies. If you have any other
questions please contact us at 1-800-328-4880.

Very truly yours,

Account Maintenance Team

Customer Service Specialized Support
Thomson West

West

61.0 Opperman Drive, Eagan, MN 55123 Tal (651) GB7-7000 www west thamson.com
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Y LexisNexis’

 

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Darren Chaker

123

311 N Robertson Blvd
Beverly Hills, CA 90211-1705

RE; Opt-Out Request

Dear Consumer:

This letter is in response to your request for the removal of certain of your personal information
from LexisNexis’ public-facing product, KnowX, LexisNexis® has taken appropriate action to.
suppress the personal information associated with your name and address.

It is important to note that when LexisNexis suppresses personal information from certain of our
records, we have a process to prevent that identical personal information from again being re--
introduced to our records. However, despite our efforts and due to the variations in personal
information contained in public records, it is possible that personal information that does not
exactly match the information that we deleted may be re-introduced to LexisNexis’ public-facing
product in the future. If you become aware that your personal information is available through
LexisNexis in the future, please notify the LexisNexis Privacy Hotline at once to enable us to
promptly investigate so that we may take appropriate action.

Should you have any questions regarding this confirmation notice, please contact the
LexisNexis Privacy Hotline at 1-800-83 1-2578 or Mary Shively at 1-800-227-9597 x
55568.

LexisNexis Consumer Compliance

CD169-01-10d

Ex. 3
Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 20 of 32

@ LexisNexis"

October 4, 2005

Darren Chaker
311 N Robertson Blvd. #123
Beverly Hills, CA 90211

RE: Opt-Out Request
Dear Mr Chaker:

You recently requested that records about yourself be removed from LexisNexis
non-public information databases. Your request, based upon the information you
provided to us has been processed. This letter acknowledges that the matching
information we found has now been removed from the LexisNexis non-public
information databases.

Non-public information is information about an Individual that we obtain from a
private source, Itis not available to the general public or obtained from a public
record. A typical non-public information record may include the following data
elements: —

Name;

Alias Names/Maiden Names;

Current Address;

Prior Addresses;

Address Report Dates;

Telephone Number;

Social Security Number (We display the first five digits. to qualified
users only); .

« Date of Birth; and:

« Gender.

These non-public infarmation records are. part of a business-to-business

- database mainly used by attorneys, businesses and government officials. These
customers use this information for purposes that include identity verification, and.
locating individuals such as heirs, witnesses, litigants, shareholders, and former
employees. LexisNexis does not distribute its locator information products and
services to the general public
Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 21 of 32

As the world’s leading provider of online business-to-business information,
LexisNexis is committed to balancing the privacy concerns of individuals such as
yourself with the legitimate needs of legal, business, and government
professionals who require access to accurate sources of information.

lf you have any questions, please feel free to contact me.

Regayds,

ee,

Ma
Legal
LexisNexis ”

PO Box 933
Dayton, Chio 45401

 

800-227-9597 x55568
Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 22 of 32

@ LexisNexis:
October 13, 2005.

Darren D Delnero
311 N Robertson Blvd
Beverly Hills, Ca 90211

RE: Opt-Out Request
Dear Darren D Delnero:

You recently requested that records about yourself be removed from LexisNexis
non-public information databases. Your request, based upon the information you
provided to us has been processed. This letter acknowledges that the matching
information we found has now been removed from the LexisNexis non-public
information databases.

Non-public information is: information about an individual that we obtain from a
private source, It is not available to the general public or obtained from a public
record. A typical non-public information record. may include the following data
elements:

Name;

Alias Names/Maiden Names;

Current Address;

Prior Addresses,

Address Report Dates,

Telephone Number;

Social Security Number (We display the first five digits to qualified
users only);

« Date of Birth; and

»« Gender.

These non-public information records are part of a business-to-business
database mainly used by attorneys, businesses and government officials. These
customers use this information for purposes. that include identity verification, and
locating individuals such as heirs, witnesses, litigants, shareholders, and former
employees. LexisNexis does not distribute its locator information products and
services to the general public.
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LexisNexis is committed to balancing the privacy concerns of individuals such as
yourself with the legitimate needs of legal, business, and government
professionals who require access to accurate sources of information.

If you have any questions, please feel free to contact me.

Regards, .

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Mary Shively

Legal Compliance Analyst
LexisNexis

PO Box 933

Dayton, Ohio 45401

800-227-9597 x55568
Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 24 of 32

FIRST Advantage

June 8. 2010

Darren Chaker
PO Box 77
La JoHa. CA 92038

RE: Order of Nondisclosure

Dear Mr, Chaker

This letter is being sent in response to your Order of Nondisclosure. At this time we show no

record of your name and social security number in our database.

We have enclosed a copy of “A Summary of Your Rights Under the Fair Credit Reporting Act”.
If youare a California resident, we have also included a copy of “A Summary of Your Rights
Under California Law”. If you have any questions concerning this matter, please contact the
Consumer Relations Department at (800) 321-4473 Extension 3935.

Sincerely,

Lyle Polyak
Consumer Relations Processor
Fnelosures

P.O. Box 236? . Seminole, FL A775. TE: $OUBRL AAPA. F 800.868.0247
www FAD con

 

 

 
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SKIP TRACING INC.

PO BOX 286

METUCHEN, NJ 08840

732-548-7741

FAX 732-548-8026
EMAIL-SKIPTRACER@VERIZON.NET

WEB-SKIPTRACING.COM

SEPTEMBER 6, 2006

VANIA CHAKER

* £895 TOWNE CENTER DR, #105

SAN DIEGO, CA 92122
WE RECEIVED YOUR LETTER REGARDING DARREN CHAKER.

PLEASE BE ADVISED WE ARE NOT A DATABASE WHERE INFORMATION IS STORED
ON INDIVIDUALS. WE HAVE NOT INITIATED ANY SEARCHES ON THIS PERSON NOR
WILL WE IN ITIATE ANY SEARCHES IN THE FUTURE. ,
PLEASE BE GUIDED ACCORDINGLY, |

SINCERELY.

THOMAS BLACK

Ex.
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DATALINE

February 16, 2021

Dear Mr. Chaker,

Thank you for contacting Dataline regarding how we handle data. We have
received your request and have searched our database for your contact

information.

After a thorough search, we have determined that we do not have the
information you provided on our database.

Sincerely,

The Dataline Privacy Team

Dataline 609-452-6014 phone www.datalinedata.com

506 Carnegie Center Drive / Suite 105 609-951-0025 fox
Princeton, NJ 08540 info@datalinedata.com
Case 2:06-cv-04823-JDW Document 12-1 Filed 05/24/21 Page 27 of 32

5/14/2021 Gmail - California Consumer Privacy Act (CCPA) - IDI- CCPA - Delete & Do Not Sell

 

G mail Darren Chaker <darrenchaker@gmail.com>

 

 

California Consumer Privacy Act (CCPA) - IDI - CCPA - Delete & Do Not Sell

CCPA <ccpa@ididata.com> Mon, Feb 15, 2021 at 7:03 AM
To: "darrenchaker@gmail.com" <darrenchaker@gmail.com>
Cc: CCPA <ccpa@ididata.com>

Dear Darren D Chaker,

Thank you for the requests you submitted to IDI to delete your personal information, and to no longer seil your personal
information under the California Consumer Privacy Act (CCPA). Betow is information regarding each of your requests.

Your request to delete your personal information

You have requested that IDI delete personal information that you have provided to IDI directly. We have deleted any
personal information that you previously provided to IDI. Per the CCPA Regulations, section 999.317, subsection (b), IDI
will maintain a record of your request.

Your request that we no longer sell your personal information

In accordance with the CCPA, your personal information will no longer be sold to third parties. Please note that the CCPA
does not apply to certain personal information, including that which is collected, processed, sold, or disclosed pursuant to
the Gramm-Leach-Bliley Act (GLBA), the Driver's Privacy Protection Act of 1994 (DPPA), “publicly available" information
lawfully available from a government source, and data that is deidentified or aggregate consumer data. Due to these
exemptions, certain IDI products are not subject to the CCPA. ,

Best,
- aS
ie 3 Sey, CCPA Department |
Goe20S85% IDI, a Red Violet company (NASDAQ: RDVT)

2650 N, Military Trail, Suite 300
Boca Raton, FL 33431
www.ididata.com

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5/14/2021 Gmail - Your Request for Do Not Sell my Data to PossibleNOW - Request# 20210204A

 

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Gmail Darren Chaker <darrenchaker@gmail.com>

 

Your Request for Do Not Sell my Data to PossibleNOW - Request# 20210204A

 

privacy <privacy@possiblenow.com> Tue, Mar 9, 2021 at 7:48 AM
To: "darrenchaker@gmail.com" <darrenchaker@gmail.com>

We received your request to access the personal information we process that relates to you on 02/04/202, We take this
request seriously and it is our policy to ensure that requests are handled swiftly and in accordance with applicable law.

Under the California Consumer Privacy Act (CCPA), you have the right to request disclosure of your personal information
that is being processed by PossibleNOW and its subsidiaries, CompliancePoint, and PossibleNOW data Services,
and where there is a verifiable request, receive specific information about how your personal information is processed, for
what purposes and with whom it is shared.

PossibleNOW and its subsidiaries listed above has conducted a thorough review of all relevant electronic and manual
records we hold. We have identified whether PossibleNOW or its Subsidiaries processes any of your personal
information, as defined by the CCPA.

After thorough review by PossibieNOW it has been determined that no data exists and suppression added in the
PossibleNOW databases or its subsidiaries databases for the information submitted by you with a request to Do
Not Sell My Data.

The specific pieces of personal information that PossibleNOW and its subsidiaries reviewed, based on the information
you provided are the following:

Name — Darren Chaker
Address — 1140 Wall St. 77, La Jolla CA, 92037
Phone — not provided

Email — darrenchaker@gmail.com

Date of Birth — not provided

To view our privacy policy, please go https://www.possiblenow.com/privacy-statement. If you have any questions or
concerns, please contact us by phone at 866-560-5923 or email at privacy@possiblenow.com. Please reference request
number listed above. -

Thank you,

Privacy Compliance Team

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5/14/2021 Gmail - Your Request for Do Not Sell my Data to PossibleNOW - Request# 20210204A

Richard Middleton
Compliance Analyst and Sr. Project Manager — Information Security Group

POSSIBLENOVY™

4400 River Green Parkway, Suite 100
Duluth, GA 30096

(770) 255-1020 Main

(678) 287-7745 Direct
rmiddleton@possiblenow.com
www.possiblenow.com

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original message or any copy of it from your computer system

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5/14/2021 Gmail - Your CCPA Right to Opt Out Request

 

Darren Chaker <darrenchaker@gmail.com>

 

Your CCPA Right to Opt Out Request

 

Executive Response Team <CXRT@dnb.com> Wed, Mar 3, 2021 at 9:09 AM
To: “darrenchaker@gmail.com" <darrenchaker@gmail.com> ,

Good Morning Mr. Chaker,

We have removed your personal information from our products and will no longer sell any personally identifiable
information associated with you. If this was not the result you intended, or if you change your mind and would like to opt
back in to the sale of your personal information, you can always request to Opt in.

Thank you,

dun&bradstreet

Holly M. Hilton
Case Manager, Executive Response Team

HQ:101 JFK Parkway

Short Hills, NJ 07078
Office: 877.625.0320 Ex 0354

dnb.com | DandB.com

GOGO

Ex .?

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Woodlyn, PA 19094-0805 Date Issued: 2/12/2021

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DARREN DAVID CHAKER

1140 WALL ST APT 77
LA JOLLA, CA 92037-4531

We appreciate you taking the time to contact us at TransUnion. Our goal is to maintain complete and accurate credit
information. It's our commitment to you.

 

Re: Credit Freeze Added

We received your credit freeze request and a freeze is now in place on your TransUnion credit report. It will stay in place until
you request its removal.

This is your PIN: 239249, Make sure not to lose it. You will need it to make changes to your freeze via phone. You will not
need a PIN to make changes ontine. Simply go to www.transunion.com/creditfreeze where you can find more information or
make a change to your freeze. There you will also find instructions for changing your PIN should you need to.

Re: Credit Freeze

What is a credit freeze?

A credit freeze prevents lenders from checking your credit report in order to open a new account. A freeze may also prevent
your information from being released for other inquiries (such as opening a bank account). Federal law allows certain
transactions - such as those for insurance purposes - to continue even while a credit freeze Is in place, and you'll continue to
be able to take advantage of credit monitoring services. if you have a freeze on your credit report, you will need to lift or
remove it before you apply for credit. ‘

if | freeze with TransUnion do | need to freeze with the other bureaus?

You can freeze your TransUnion credit report with us, but to freeze your other credit reports you must contact each of the
other bureaus. Their information is below. , *

Equifax

P,O. Box 105788

Atlanta, GA 30348
1-888-298-0045

https://www. freeze.equifax.com

Experian
P.O. Box 9554

Allen, TX 75013 : | bX Oo
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SageStream

Mar 2, 2021

DARREN CHAKER
1140 WALL ST #77
LA JOLLA CA 92037 (10269876

' RE: Election to Opt-Out for 5 Years
Dear DARREN CHAKER,

v

Please note that your opt-out election is effective for 5 years — beginning no later than 5 business
days from the date we received your request (the "5 Year Period").

We have received your request;to:opt-out-of préscteened offers of credit and insurance.

If, during the 5 Year Period, you decide that you want to receive prescreened offers of credit or
insurance, you may call us at 1-888-395-0277, or visit www.sagestream||c.com/opt-out-opt-in
and print out, complete, and fax or mail.the Opt-In Election Form to.us. Ifyou are unable to
access oulvebsite and/or print out the Opt-In Election Form, you may mail or fax us your
written request and include the following information:

® Your first name, middle name, last name (include Jr., Sr., HI, etc.)
* Your current address including ZIP code

* Your current telephone number with area code

* Your Social Security number

® Your date of birth (month, day, year)

° Indicate if your request is to opt-in.

If you want to opt-out permanently, please complete the enclosed form, sign it, and return it to us
at the following address of fax:

SageStream , LLC

Attn: Consumer Office

P.O. Box 503793

San Diego, CA 92150
Secured fax: 1-858-451-2847 .

-

Please note that removing your name from these lists does not affect your ability to apply for or

obtain credit or insurance,
tC . gz

SageStream, LLC : PO Box 503793 ; San Diego CA 92150 : Phone.888-395-0277 : ww

[SS:OptOut 5 year conf and Perm Election Form-10042018-V.1]
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